   Case 3:20-cv-00009-NKM Document 1 Filed 02/26/20 Page 1 of 2 Pageid#: 1

                                                                                            02/26/2020


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


“Baby L.” a minor, by and through her legal
guardians and next friends, DOE 1 and DOE 2,
DOE 1, individually and as next friend of “Baby L.,
and DOE 2, individually and as next friend of
“Baby L.”
                                                               Civil Action No. __________
                                                                                 3:20CV00009

                        Plaintiffs,

                       v.                               PLAINTIFFS’ MOTION FOR LEAVE
                                                        TO PROCEED USING PSEUDONYMS
 Dr. MARK ESPER, in his official capacity as               AND TO FILE AND PROCEED
 Secretary for the United States Department of                   UNDER SEAL
 Defense; MICHAEL POMPEO, in his official
 capacity as Secretary for the United States
 Department of State, DONNA WELTON, in her
 official capacity as Assistant Chief of Mission,
 United States Embassy Kabul (USEK), DOE
 DEFENDANTS 1-20, in their official capacities,

                       Defendants.


        The plaintiffs file this action under pseudonyms to protect themselves from harassment,
and physical harm. Accordingly, the plaintiffs respectfully move for an order providing that the
plaintiffs may proceed with this action using pseudonyms. Due to the nature of the case
impacting the rights of a minor child, the concern for the future physical safety of the plaintiff’s
and their other minor children, and the sensitive nature of the information relating to this case,
the plaintiffs respectfully request that the Court grant them leave to file their Memorandum in
support of this motion, the Complaint and supporting exhibits, and the Memorandum in support
of the Complaint, under seal.

The grounds for this Motion are set forth in the accompanying Memorandum.

Respectfully Submitted,

/s/
DOE 1

/s/
DOE 2


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  Case 3:20-cv-00009-NKM Document 1 Filed 02/26/20 Page 2 of 2 Pageid#: 2




BY:

Dated: February 26, 2020

/s/ Richard L. Mast
Richard L. Mast (VA Bar No. 80660)
LIBERTY COUNSEL
P.O. Box 540774
Orlando, FL 32854-0774
court@lc.org
(800) 671-1776
P.O. Box 11108
Lynchburg, VA 24506
(434) 592-7000
Attorney for Plaintiff




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